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                   EXHIBIT 3
             (File Under Seal)
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                                                                      Page 1


                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


                        CASE NO. 15-CV-07433-RWS


      ------------------------------------------x
      VIRGINIA L. GIUFFRE,


                                     Plaintiff,
      v.
      GHISLAINE MAXWELL,
                                     Defendant.


      -------------------------------------------x


                                     June 20, 2016
                                     9:12 a.m.


                        C O N F I D E N T I A L
            Deposition of Jane Doe 2             , pursuant
            to notice, taken by Plaintiff, at the
            offices of Podhurst Orseck, 25 West
            Flagler Street, Suite 800, Miami, Florida,
            before Kelli Ann Willis, a Registered
            Professional Reporter, Certified Realtime
            Reporter and Notary Public within and
            for the State of Florida.




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                                                                      Page 16
 1                     Jane Doe 2
 2    know the extent of their relationship.             But she
 3    would schedule his appointments and handle clerical
 4    things for him as far as I can see.
 5          Q.     All right.
 6                 And when you first went to his house,
 7    where did -- where were you taken within the house?
 8                 MR. PAGLIUCA:      Object to form and
 9          foundation.
10                 THE WITNESS:      Kitchen, up to the room, up
11          to his master suite.
12    BY MR. EDWARDS:
13          Q.     And which stairwell did you go up to his
14    suite?
15          A.     I do not remember.
16          Q.     Was it the stairs off by the kitchen?
17          A.     I do not recall.
18          Q.     And when you went into his bedroom, were
19    you under the belief that it was going to be you
20    providing some sort of a massage?
21          A.     It certainly didn't involve any sexual
22    activity.     That's what I was under the assumption.
23    I don't recall exactly how I was propositioned to
24    get there.     I just was there, and all of a sudden
25    something horrible happened to me.




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                                                                      Page 17
 1                     Jane Doe 2
 2          Q.     Did you, at 16 years old or 17 years old,
 3    have any massage training or experience?
 4          A.     No.
 5          Q.     Did Jane Doe 2          have any massage
 6    experience?
 7          A.     I do not -- I can't speak to her
 8    experience.      I do not know.      She was not really a
 9    friend of mine.       Barely an acquaintance.         We maybe
10    spoke three times in our entire going to school
11    together and everything.
12          Q.     Did you ever learn what her incentive was
13    to bring you to Jeffrey Epstein's house?
14          A.     Later I found out that they would get
15    kickbacks for bringing people over.
16          Q.     Do you remember seeing Jeffrey Epstein
17    give her money that day?
18          A.     I don't recall, no.
19          Q.     If you said that in your statement, that
20
21
22
                      -
      you remember Jane Doe 2 getting money for bringing you
      here that day, would that be a true statement?
            A.     Yes, absolutely.       Everything in there is
23    the truth.     I do not remember from years ago at this
24    point.
25                 MR. PAGLIUCA:      Object to form and




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                                                                      Page 23
 1                     Jane Doe 2
 2    into?
 3           A.     I worked very, very hard to not recall
 4    anything specific about my sexual encounters with
 5    this person as one of his victims.            I cannot answer
 6    your question.       Things -- it wasn't supposed to be
 7    sexual, but it was.        That's as specific as I can
 8    get.
 9           Q.     Fair to say that when Jeffrey Epstein or
10    his assistants used the term "massage," someone is
11    going to come give a massage, that that's always a
12    sexual encounter?
13                  MR. PAGLIUCA:     Object to form and
14           foundation.
15                  THE WITNESS:     "Always" is a strong word to
16           use.   I'm not making that assumption, but
17           oftentimes that's exactly what it meant.
18    BY MR. EDWARDS:
19           Q.     When Jeffrey Epstein was paying high
20    school girls for these alleged massages, he was
21    paying to turn it into a sexual encounter, fair?
22                  MR. PAGLIUCA:     Object to form and
23           foundation.
24                  THE WITNESS:     I would say yes, that is the
25           motivation.     I'm not a mind-reader.         I don't




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                                                                      Page 24
 1                     Jane Doe 2
 2          know what he was thinking.          It's fair to
 3          assume.
 4    BY MR. EDWARDS:
 5          Q.     All right.
 6                 Did you know how Jane Doe 2              met
 7    Jeffrey Epstein?
 8          A.     No.
 9          Q.     Do you know someone named Hayley Robson?
10          A.     No.
11          Q.     Did you know Tony Figueroa?
12          A.     No.    It sounds like a familiar name, but I
13    do not know him.
14          Q.     Did you know Ashley Davis?
15          A.     I may have gone to high school with an
16    Ashley Davis, but that seems like a very common
17    name.
18          Q.     Were you asked by Jeffrey Epstein to bring
19    other girls to him?
20          A.     Yes.
21          Q.     And for what purpose?
22                 MR. PAGLIUCA:      Object to form and
23          foundation.
24    BY MR. EDWARDS:
25          Q.     What is his stated purpose?




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                                                                      Page 25
 1                     Jane Doe 2
 2          A.     I was never present when he interacted
 3    with those women.       I don't know exactly what
 4    happened.
 5          Q.     Did you bring other girls to him?
 6          A.     Yes.   I brought friends over.
 7          Q.     And were they also of similar age to you?
 8          A.     Yes.   They were my peers.
 9          Q.     High school girls?
10          A.     Correct.
11          Q.     Did any of them have massage experience?
12          A.     I do not know.
13                 MR. PAGLIUCA:      Object to form.
14    BY MR. EDWARDS:
15          Q.     Were you going out to look for a massage
16    therapist, a professional massage therapist to bring
17    to him?
18          A.     No.
19          Q.     What he wanted at his house was young high
20    school girls under the pretense of some massage?
21                 MR. PAGLIUCA:      Object to form and
22          foundation.
23    BY MR. EDWARDS
24          Q.     Is that fair?
25                 MR. PAGLIUCA:      Object to form and




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                                                                      Page 26
 1                     Jane Doe 2
 2          foundation.
 3                 THE WITNESS:      Yes, that's fair.       I mean, I
 4          have to think.       Sometimes I would go over and I
 5          would just swim and I would get paid, or I
 6          would take a nap and I'd get paid, or I would
 7          just hang out and I'd get paid.           So that should
 8          be in my statement as well.
 9                 It wasn't my assumption that they were
10          coming over to do anything.          I did not know,
11          once the door was closed or once they went to
12          another area of the home.           I often just went
13          over and did my own thing while they were doing
14          whatever they were doing.           It was none of my
15          business.
16    BY MR. EDWARDS:
17          Q.     When you would say you would just hang out
18    at the pool, who would you be with?
19          A.     I don't remember anyone.         None of those
20    girls were any friends.         We were all there just
21    through that mutual connection.
22          Q.     I just have a list of girls, and I want
23    you to tell me whether you know who they are or you
24    don't.
25                 Do you know Felicia Esposito?




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                                                                      Page 54
 1                     Jane Doe 2
 2    BY MR. EDWARDS:
 3          Q.     When you got to his house, you were
 4    requested to give a massage?
 5                 MR. PAGLIUCA:      Object to foundation and
 6          form.
 7                 THE WITNESS:      I don't exactly remember.           I
 8          don't remember if I was asked in the kitchen.
 9          I don't remember if -- I don't remember.
10    BY MR. EDWARDS:
11          Q.     Massage was part of the game, though?
12                 MR. PAGLIUCA:      Object to form and
13          foundation.
14                 THE WITNESS:      I don't remember.       I'm
15          sorry.
16    BY MR. EDWARDS:
17          Q.     But even during this deposition today, we
18    have described at times you giving him a massage?
19          A.     Yes.    You're asking about my first
20    encounter, though.
21          Q.     Sorry, I'm just trying to sum up the whole
22    thing.
23          A.     Okay.
24          Q.     Was massage part of the lure to get you
25    specifically to his house?




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                                                                   Page 55
  1                    Jane Doe 2
  2          A.    Yes.
  3                MR. PAGLIUCA:      Object to form and
  4          foundation.
  5    BY MR. EDWARDS:
  6          Q.    And at the time, you are 15, 16 or 17
  7    years old?
  8                MR. PAGLIUCA:      Object to form and
  9          foundation.
10                 THE WITNESS:      Yes.
11     BY MR. EDWARDS:
12           Q.    No massage experience?
13           A.    No.
14           Q.    You were told to bring other girls to his
15     house?
16                 MR. PAGLIUCA:      Object to form and
17           foundation.
18                 THE WITNESS:      After a while, yes.
19     BY MR. EDWARDS:
20           Q.    These massages were turned sexual by
21     Jeffrey, as opposed to by anyone else?
22           A.    Jeffrey took my clothes off without my
23     consent the first time I met him.
24           Q.    The massages were scheduled by people
25     working for Jeffrey?




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                                                                   Page 56
  1                    Jane Doe 2
  2           A.   I don't recall.
  3                MR. PAGLIUCA:      Object to form and
  4           foundation.
  5    BY MR. EDWARDS:
  6           Q.   Jeffrey Epstein, during these massages,
  7    would use sex toys or have sex toys used?
  8                MR. PAGLIUCA:      Object to form and
  9           foundation.
10                 THE WITNESS:      Well, at that point, it's no
11            longer a massage.      Something else is going on.
12            But, yes, he would take out adult toys and
13            different things.
14     BY MR. EDWARDS:
15            Q.   While you were a teenager, Jeffrey Epstein
16     asked you to live with him?
17            A.   Yes.    He wanted me to be emancipated.
18            Q.   Jeffrey Epstein encouraged girl-on-girl
19     sex?
20                 MR. PAGLIUCA:      Object to form and
21            foundation.
22                 THE WITNESS:      Yes.
23     BY MR. EDWARDS:
24            Q.   And after you cooperated with the police,
25     you were intimidated by people working for Jeffrey




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                                                                   Page 57
  1                    Jane Doe 2
  2    Epstein?
  3                MR. PAGLIUCA:      Object to form and
  4          foundation.
  5                THE WITNESS:      Yes.
  6                MR. EDWARDS:      All right.     I don't have
  7          anything further for you.           I apologize that we
  8          even had to go through this, all right?
  9                THE WITNESS:      Okay.
10                         E X A M I N A T I O N
11     BY MR. PAGLIUCA:
12           Q.    Jane Doe 2 by name is Jeff Pagluica.           I
13     live in Denver, Colorado.         And, like you, I don't
14     want to be here today either, okay?            I would rather
15     be in Denver.
16                 I just want to -- as I understand it, and
17     I'm not trying to get into any of your treatment
18     over the last, let's say, 10 years, because I don't
19     know how long it's been, but as I understand what
20     you and your lawyer have said here today, you have
21     been involved in some number of years of therapy, in
22     which the purpose -- part of the purpose of the
23     therapy has been to forget all of these events that
24     Mr. Edwards was asking you questions about; is that
25     correct?




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                                                                   Page 71
  1                 Jane Doe 2
  2                      CERTIFICATE OF OATH
  3    STATE OF FLORIDA        )
  4    COUNTY OF MIAMI-DADE    )
  5
                     I, the undersigned authority, certify that
  6       Jane Doe 2       personally appeared before    me and
          was duly sworn.
  7                  WITNESS my hand and official seal     this
          23rd day of June, 2016.
  8
  9
                       Kelli Ann Willis, RPR, CRR
10                     Notary Public, State of Florida
                       Commission FF928291, Expires 2-16-20
11              + + + + + + + + + + + + + + + + + +
12                          CERTIFICATE
13     STATE OF    FLORIDA )
14     COUNTY OF MIAMI-DADE )
15                 I, Kelli Ann Willis, Registered
          Professional Reporter and Certified Realtime
16        Reporter do hereby certify that      I was
          authorized to and did stenographically report the
17        foregoing deposition of Jane Doe 2       that a
          review of the transcript was not requested; and
18        that the transcript is       a true record of my
          stenographic notes.
19                 I FURTHER CERTIFY that I am not a
          relative, employee, attorney, or counsel of      any
20        of the parties, nor am I a relative or employee of
          any of the parties' attorney or counsel connected
21        with the action, nor am I financially interested
          in the action.
22                 Dated this 23rd day of June, 2016.
23
24                              KELLI ANN WILLIS, RPR, CRR
25




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